 

Case 1:06-cv-00089-.].]F Document 50

w AO 120 (Rev. 3104)

Filed 12/05/06 Page 1 of 1 Page|D #: 1186

 

TO:

Mail Stop 8

Director of the U.S. Patent and Trademark Oft'lce
P.O. Box 1450

Alexandria, VA 22313-1450

 

REPORT ON THE
FILING OR DETERMINATION OF AN
ACTION REGARD]NG A PATENT OR
TRA])EMARK

 

 

In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been

filed in the U.S. District Co urt Delaware

on the following X Patents or i:i Trademarks:

 

DOCKET NO.
06-89

 

DATE FILED U.S. DISTRlCT COURT

 

2/8/06

DISTRICT OF DELAWARE

 

PLAINTIFF

Pflzcr lnc.

 

DEFENDANT

Teva Pham'iaceuticals USA et al

 

PATENT OR

DATE OF PATENT

HOLDER OF PATENT OR TRADEMARK

 

l 6,977,243 132

12/20/05

Pt`lzer lnc.

 

 

 

 

 

 

 

 

 

ln the above_entitled case, the following patent(s)/ trademark(s) have been included:

 

DATE INCLUDED

INCLUDED BY
|:l Amendment

l:] Answer |:I Cross Bill l:l Other Pleading

 

PATENT OR
TRADEMARK NO.

DATE OF PATENT
OR TRADEMAR_K

HOLDER OF PATENT OR TRADEMARK

 

 

 

 

 

 

 

 

 

 

In the above_entitled case, the following decision has been rendered or judgement issued:

 

DECISION/JUDGEMENT

.j;? ;
c,/Mj@-Z:AL"

 

 

CLERK

 

PETER T. DALLEOJ CLERK OF COURT

 

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C/ %\£:Z

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Copy l_Upon initiation of action, mail this copy to Director
Copy 2_Upon filing document adding patcnt(s), mail this copy to Director Copy 4_Case tile copy

 

Copy 1 'f)on termination of action, mail this copy to Director

 

